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AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Middle District
                                                   __________ DistrictofofFlorida
                                                                           __________

                  United States of America                          )
                             v.                                     )
                                                                    )       Case No.PM 1977
                    Brett Avery TIPTON                              )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of              in or about 2020 through 2022      in the county of               Brevard          in the
        Middle         District of Florida, and elsewhere , the defendant(s) violated:

            Code Section                                                      Offense Description

18 U.S.C. § 2422(b)                              Enticement of a minor to engage in unlawful sexual activity.




          This criminal complaint is based on these facts:
          See affidavit.




          ✔ Continued on the attached sheet.
          u


                                                                                               Complainant’s signature

                                                                                              Kevin Kaufman, SA, FBI
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                                                                                                Printed name and title
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Date:
                                                                                                  Judge’s signature

City and state:                          Orlando, Florida                           Embry J. Kidd, U.S. Magistrate Judge
                                                                                                Printed name and title
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STATE OF FLORIDA                                     CASE NO. 6:22-mj- 1977
COUNTY OF ORANGE
                                    AFFIDAVIT

      I, Kevin Kaufman, a Special Agent with the Federal Bureau of Investigation

(FBI), being duly sworn, depose and state as follows:

                                 INTRODUCTION

      1.     I have been employed as a Special Agent with the FBI since 2004. I am

currently assigned to the Tampa Division, Orlando Resident Agency, of the FBI.

While employed by the FBI, I have investigated federal criminal violations related to

high technology or cybercrime, child exploitation, and child pornography. I have

received training in the area of child pornography and child exploitation and have had

the opportunity to observe and review numerous examples of child pornography (as

defined in 18 U.S.C. § 2256) in all forms of media, including computer media.

      2.      I have received specialized training in the investigation of sex crimes,

child exploitation, child pornography, and computer crimes. I have participated in

investigations involving online solicitation/enticement of a minor in violation of 18

U.S.C. § 2422(b). I have also participated in investigations of persons suspected of

violating federal child pornography laws, including 18 U.S.C. §§ 2251(a) and (e), 2252,

and 2252A. I have also participated in various training courses for the investigation

and enforcement of federal child pornography laws in which computers and cellular

phones are used as the means for receiving, transmitting, and storing child

pornography. Additionally, I have participated in the execution of search warrants
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involving searches and seizures of computers, computer equipment, software, and

electronically stored information.

      3.     This affidavit is submitted in support of a criminal complaint against

BRETT AVERY TIPTON for a violation of 18 U.S.C. § 2422(b). As set forth in more

detail below, I believe there is probable cause that TIPTON, using a facility and means

of interstate commerce, that is, the Internet, did knowingly persuade, induce, entice,

or coerce an individual who had not attained the age of 18 years to engage in sexual

activity for which any person could be charged with a criminal offense under federal

law, that is, Sexual Exploitation of a Child, a violation of 18 U.S.C. § 2251(a); all in

violation of 18 U.S.C. § 2422(b).

      4.     Title 18, United States Code, Section 2422(b) prohibits a person from

using a means or facility of interstate commerce to knowingly persuade, induce, entice,

or coerce an individual who had not attained the age of 18 years to engage in sexual

activity for which any person could be charged with a criminal offense.

      5.     Title 18, United States Code, Section 2251(a) prohibits a person from

employing, using, persuading, inducing, enticing, or coercing a minor to engage in any

sexually explicit conduct for the purpose of producing any visual depiction of such

conduct or for the purpose of transmitting a live visual depiction of such conduct, if

such person knows or has reason to know that such visual depiction will be transmitted

using any means or facility of interstate or foreign commerce, or if the visual depiction

was actually transported or transmitted using any means or facility of interstate or

foreign commerce.

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       6.     I make this affidavit from personal knowledge based on my participation

in this investigation, information from other criminal investigators, information from

law enforcement officers, information from agency reports, and review of documents

provided to me by witnesses and law enforcement officers. Because this affidavit is

being submitted for the limited purpose of establishing probable cause in support of a

criminal complaint, I have not set forth each and every fact learned during the course

of this investigation.

                                 INVESTIGATION

       7.     On August 23, 2022, the FBI Tampa Division, Orlando Resident

Agency, received information about a subject who enticed and solicited a minor to

produce images of child sexual abuse material (CSAM). The minor victim resides in

Licking County, Ohio, but the subject (identified as BRETT AVERY TIPTON)

resides in Brevard County, Florida.

       8.     On August 23, 2022, I contacted the FBI Cincinnati Field Office and

discussed the investigation further. Shortly thereafter, I obtained case reports from the

Licking County Sheriff’s Office (LCSO).

       9.     After reviewing the reports, I learned that on August 1, 2021, LCSO

Deputy S. Green was dispatched to a residence in New Albany, Ohio, in reference to

a possible missing juvenile. Deputy Green arrived at the residence and spoke with the

father of the child victim (CV), who was 13 years old at the time.

       10.    The father stated that the CV was last seen on his bicycle in the driveway

of the residence. The father of the CV became worried and contacted one of the CV’s

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friends. The CV’s friend told the CV’s father that the CV had been communicating

with an unknown male online through the CV’s PlayStation 4.

      11.   As Deputy Green was taking the report of the missing CV, the CV

returned home. Subsequently, the CV informed Deputy Green that he had used his

PlayStation 4 console to talk to an unknown adult male who identified himself as

“Brett Sky,” who was later identified as BRETT AVERY TIPTON. The CV informed

Deputy Green that TIPTON resided in Cocoa Beach, Florida.

      12.   Deputy Green asked the CV if he had sent TIPTON any images of

himself. The CV responded that he had sent TIPTON several nude images of

himself. The CV stated that TIPTON often requested that the CV produce images of

himself, and in return, TIPTON purchased games for the CV. The CV stated that he

had used his PlayStation console, Snapchat account, and Facebook account to talk to

TIPTON since June 2020.

      13.   Deputy Green reviewed the CV’s PlayStation console and observed

several messages exchanged between TIPTON and the CV. Within the messages,

Deputy Green found nude images of both the CV and TIPTON. When asked if

TIPTON ever requested the CV to meet in person, the CV answered no. Notably,

further review of the messages revealed that the CV told TIPTON that he would be

moving to Florida. The case was then referred to the LCSO Detective Bureau.

      14.   LCSO Detective Bureau Detective Shenan Day was assigned to the

investigation. On August 17, 2021, Detective Day re-interviewed the CV. During the

recorded interview, the CV said he had met TIPTON through a PlayStation 4

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community party, and they became friends. TIPTON identified himself as “Brett

Sky.” TIPTON told the CV that he was approximately 6’5” tall, that he was 37 years

old, and that he worked as a security guard.1 The CV and TIPTON played games

together.

       15.    The CV stated that TIPTON asked him “out of the blue” for nude

pictures after adding the CV on Snapchat. He further stated that at TIPTON’s request,

the CV sent photographs of his genitals to TIPTON via Snapchat. The CV also stated

that TIPTON often asked for “booty” pictures or requested the CV to send a picture

of “something in my butt.” In return, TIPTON sent the CV items from Amazon and

food through DoorDash, an online food ordering company. The items TIPTON sent

via Amazon and DoorDash were sent directly to the CV’s residence, unbeknownst to

the CV’s father. During the interview, the CV provided Detective Day a receipt from

a recent DoorDash delivery (from TIPTON) from The Wing Experience.

       16.    The CV advised Detective Day that during his interactions with

TIPTON, the CV sent TIPTON approximately 20 to 30 images of himself nude. The

CV stated that he had sent the images through his cellular phone and his PlayStation

4 gaming console.




1
 Based on my interactions with TIPTON at his residence this morning, I know that TIPTON is
approximately 6’8” tall and 40 years old. In addition, based on the interview with the CV and
TIPTON’s Facebook posts, I believe that TIPTON works as a security guard.



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                            FORENSIC INTERVIEW OF THE CV

          17.     On March 8, 2022, the CV was forensically interviewed by child forensic

interviewer Mallory Campbell and Detective Day. During the interview, the CV

stated that he had met a “sugar daddy” approximately two-and-a-half years ago on his

PlayStation 4 console. The CV identified the “sugar daddy” as “Brett Sky” (i.e.

TIPTON).

          18.     The CV stated that TIPTON had added the CV to a Telegram group.2

The CV also stated that TIPTON was from Cocoa Beach, Florida, and that he was

employed a security guard.

          19.     According to the CV, TIPTON knew the CV was 12 when they started

interacting with each other online. Moreover, TIPTON asked the CV for nude images,

and in return, the CV would receive gaming items such as headphones or games, and

dinners from Uber Eats (another online food ordering and delivery company).

          20.     When the CV was asked what type of images he sent to TIPTON, the

CV stated that he sent TIPTON images of his “ass, dick, and face.” TIPTON also sent

the CV images of TIPTON’s “face and dick.”

          21.     When the CV was asked if TIPTON sent the CV any videos, the CV

stated that TIPTON sent videos of himself “jerking off.” The CV never met TIPTON

in person, but he had thought about it.




2
    Telegram is an online instant messaging service.



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       22.     When asked if he and TIPTON were in a relationship, the CV responded

that they weren’t because TIPTON told the CV that he had to be 18, or else it was

illegal.

       23.     The CV said he had never sent images like this to anyone prior to meeting

TIPTON.

       24.     When asked how he primarily communicated with TIPTON, the CV

stated that he mainly communicated with TIPTON through his PlayStation 4 and

Snapchat, although at times, they also chatted through the Facebook Messenger

application.

       25.     The CV often showed TIPTON images of boys he was interacting with.

TIPTON commented on their looks and asked the CV to obtain their “nudes.” The

CV was asked if he had spoken to TIPTON since the time when the LCSO had first

gotten involved with this investigation, and the CV advised he had, on two occasions.

The CV later stated that he had reached out to TIPTON but did not receive a response.

             FORENSIC REVIEW OF THE CV’S CELLULAR PHONE

       26.     On December 2, 2021, the CV’s black Samsung Galaxy S7 cellular

telephone with IMEI #353562084271453 was sent to the Ohio State Highway Patrol

Crime Lab for processing. Detective Day was advised that during their initial search

of the device, they located several images of CSAM.

       27.     Detective Day reviewed the CV’s phone and located images of CSAM,

including images of what appeared to be a teenage boy exposing his genitals and

buttocks. These conversations were in several different chat applications to include

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Snapchat, PlayStation, and Telegram.          Detective Day also located several

conversations between the CV and other children and adults.           Some of those

conversations included discussions about having boys who were gaming on

livestreams, masturbate to one another. In those conversations, they also discussed

recording the act on a separate device. Below is a summary of the chats that were

located on CV’s PlayStation, Snapchat, and Telegram.

            REVIEW OF CV’S PLAYSTATION CHATS WITH TIPTON

      28.     On August 29, 2022, the FBI reviewed conversations between the CV

and PlayStation account LIZARD69SQUAD, which was later identified as belonging

to TIPTON. The conversation was located on the CV’s PlayStation console.

      29.     On May 26, 2020, the TIPTON sent a message to the CV and the two

began chatting. Several of the messages from TIPTON are deleted within the chat.

      30.     On June 12, 2020, the CV sent a meme to TIPTON that stated, “you

have lost penis privilege.” TIPTON responded, “Lol.” The CV then stated, “I got it,

it will be downloaded in 2 hours.” The CV then sent TIPTON a screenshot of a game

downloading. As the conversation continued, the CV told TIPTON that the game

was downloading slowly. TIPTON suggested that the CV restart his console. The CV

then sent four screenshots of an unknown game and two images of his penis. Based

on the statements the CV made during his interview, it is believed that the CV sent the

images of his penis in exchange for the game TIPTON purchased.

      31.     As the conversation continued, TIPTON asked the CV if he had nudes

of another person the CV was chatting with.

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      32.    On June 28, 2020, TIPTON told the CV that he loved him and referred

to the CV as “babe.”

      33.    On June 29, 2020, TIPTON told the CV, “I’m just going to cry I can’t

enjoy nick or you anymore I got nothing anymore.”

      34.    On July 4, 2020, TIPTON messaged the CV, “its brett…I’m in the

hospital.” The CV asked TIPTON, “You doing okay :(” and TIPTON responded,

“Kinda.” The next day, TIPTON told the CV that he loved the CV and stated, “Show

me who nick is in a party with I can’t see.” On July 10, 2020, TIPTON messaged the

CV, “So please don’t send nick pics like that for now till me and him can work things

out please a lot has happened…I’m so upset.”

         REVIEW OF CV’S SNAPCHAT MESSAGES WITH TIPTON

      35.    The FBI reviewed the CV’s cellular telephone. During the review, the

FBI located several chat exchanges on Snapchat between the CV and Snapchat user

“lizard69squad” (which I have identified as belonging to TIPTON because it is

registered to his telephone number, 407-420-6969, and because TIPTON admitted to

me today that it belongs to him).

      36.    On January 19, 2021, TIPTON told the CV, “She thinks me and you

would make a really good couple,” and the CV responded, “I think so too.” On

January 26, 2021, TIPTON told the CV that he loved the CV. TIPTON told the CV,

“Pi want you so baf…Br my bf…Forever.”

      37.    On February 1, 2021, the CV told TIPTON, “I don’t like my front

end…Cause small.” TIPTON responded, “No its not I actually like it alot I always

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have…I think it’s perfect honestly…Shut up I love it bc I love you…See sexy boi…I

want you Mr I really do…Good night sweetheart.” TIPTON then told the CV that he

loved him.

       38.   On February 2, 2021, TIPTON told the CV that he (i.e. the CV) owed

TIPTON. The CV asked TIPTON what he wanted. TIPTON replied, “Make videos

for me.” The CV asked TIPTON, “What kind of video.” TIPTON replied, “Pebis…I

wana watch that squirter so bad omg I want it : )). I really have feelings for you.”

       39.   The next day, TIPTON told the CV, “I hope that matters tho I really do.”

The CV replied, “It does because when I grow up I want to be with you.” TIPTON

continued to tell the CV he loved him and wanted the CV to be “part of [his] family.”

      40.    On February 6, 2022, TIPTON told the CV (referring to his penis) “It’s

not small wtf.” The CV responded, “Imma show you a size comparison.” TIPTON

told the CV that he loved the CV’s penis and stated, “Like I said I like it and it’s ok for

me…Wish you would send me some play time videos.”

      41.    The next day TIPTON told the CV, “I really wish we could video chat

and play together.” The CV told TIPTON that he did not like video chatting and

showing his penis. TIPTON responded, “Yeah but I love it tbh.” The CV stated, “A

quick picture is fine but not a couple of minutes…Ok.” TIPTON asked, “Would you.”

Moments later, TIPTON stated, “Oh fuck…Was that so bad?” The CV responded,

“Well I should be in Florida soon and no it wasn’t.” TIPTON told the CV that he did

not think that the CV would have a problem with him sexually. The CV responded,

“Maybe…Tryna do that inside me.”

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      42.    On July 9, 2021, TIPTON sent the CV an image of a young boy and older

man. TIPTON stated, “15yo and 65 we are not as bad…I want you so bad fml.”

      43.    As stated earlier, during the interview of the CV, the CV stated that

TIPTON gave him games, gaming equipment, and food in exchange for the CSAM

the CV produced. On July 26, 2021, TIPTON told the CV (via Snapchat) that he was

going to order a “headset” for the CV through Amazon. TIPTON asked the CV for

his address and the CV provided it to TIPTON. TIPTON asked the CV what color he

wanted and instructed the CV on what to say to his parents if they asked why he

received the item. TIPTON stated, “If they ask tell them you were choose for a free

headset…That you signed up online.” The CV replied, “You’ve earned infinite

cumshots (emoji).” On July 28, 2021, TIPTON sent the CV an image of the “headset”

Amazon delivered to the CV’s porch. TIPTON asked the CV if he liked them, and

the CV stated he had not opened them yet. TIPTON asked what the CV told his

parents and the CV responded, “I said all I did was put my email and address in there

and bang, I won them.”

      44.    The CV stated during one of his interviews that he communicated with

TIPTON on other applications other than Snapchat, including Telegram. While on

these applications, TIPTON and the CV joined groups to receive and distribute

CSAM. On July 29, 2021, using Snapchat, TIPTON asked the CV, “Did you add

douvhsoccer on snap bc he didn’t even say hi he goes straight to ass me on snap I’m

like hold up.” The CV told TIPTON that he had added “douvhsoccer” to the

Snapchat group and told TIPTON that he had been chatting with “douvhsoccer” on

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Snapchat for a while. TIPTON asked, “How old is he.” The CV informed TIPTON

that he (i.e. “douvhsoccer”) was 15 years old. TIPTON responded, “Ok bc I can’t add

him to anything in there if he doesn’t produce…The other administration will throw

him out.”

       45.     The next day, TIPTON told the CV, “Ur friend is cute if its really him.”

The CV asked if TIPTON saw what he looked like, and TIPTON told the CV, “Id

invite him to come visit us.” The CV told TIPTON that he had sent TIPTON a video

on Telegram. TIPTON told the CV he had already seen it and asked the CV “Yeah it

was hot u have any of him.” TIPTON asked the CV “He said u guys trade.” The CV

responded, “I don’t have anything saved from him I think.” TIPTON asked the CV

if he had the boy’s picture on Telegram. TIPTON then told the CV that he sent “pics

of the boy” on Twitch3 to the CV. The CV told TIPTON that the boy was not cute,

and TIPTON responded, “I know but it’s something.”

       46.     TIPTON then told the CV they should take a shower together and the

CV responded, “My phones not even water resistant.”

       47.     On August 25, 2022, the FBI sent an administrative subpoena to Snap

for the user “lizard69squad.” On August 30, 2022, Snap responded, identifying the

user’s display name as “Brett T” with a telephone number of (407) 420-6969 (which,

as explained below, is registered to TIPTON). Snap provided logs of IP logins that



3 Twitch is an American video live streaming service that focuses on video game live streaming,
including broadcasts of e-sports competitions, in addition to offering music broadcasts, creative
content, and “in real life” streams.



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“lizard69squad” had used to access that Snapchat account. According to the logs

provided, IP address 184.89.13.30 accessed this Snapchat account multiple times

between September 10, 2021, and August 18, 2022. Snap did not have any other

records prior to September 10, 2021.

         REVIEW OF CV’S TELEGRAM MESSAGES WITH TIPTON

      48.    The FBI reviewed the CV’s cellular phone and located several chat

exchanges on Telegram between the CV and Telegram user “Sexy Lover.” Based on

conversations located on Telegram and Snapchat, and based on TIPTON’s admission

to me today (see below), I believe that “Sexy Lover” is TIPTON.

      49.    On July 8, 2021, at 5:17 p.m., the CV and TIPTON talked about

something TIPTON had written on Telegram. On Telegram, TIPTON wrote, “Do

you ever look at someone and just wanna cry because they mean that much to you? It

was never about perfection, believe it or not. Never about the beauty, never about the

inability to make mistakes. Never about flawlessness. Never about, anything. There

didn’t have to be conditions to be met….” Approximately 27 minutes later, TIPTON

told the CV on Snapchat, “Soo i wrote something on tele… Its kinda long.” The CV

responded to TIPTON, and told TIPTON that he would look at it. The CV then

replied, “All I have to say… That was Beautiful.” TIPTON replied, “Its how I feel.”

      50.    During the review of the Telegram conversations within the CV’s phone,

law enforcement located several conversations in which TIPTON and the CV were in

groups together on Telegram. Within the group, TIPTON and the CV were observed

asking the group if they could “bait” teenage boys. In particular, on August 20, 2020,

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TIPTON asked the group, “I have a friend I need baited 15 yo gay have his snap insta.”

On June 5, 2021, TIPTON asked the group, “Ok so I have this 15 yo that I need baited

and shared in here hes bi and on snapchat any takers please serious only I would love

to get a few cum videos out of it.”

      51.    On July 19, 2021, TIPTON asked the group, “Who can bait a straight

13yo on snap.” On July 20, 2021, the CV asked the group, “Can anybody here bait a

straight 13-year-old on snap.” On August 1, 2021, TIPTON asked the group, “Anyone

in here bait straight boys.”

      52.    Based on my review of the Telegram chats, I believe TIPTON used these

groups to trade and distribute CSAM.     On June 15, 2020, a user within the group

asked, “[A]nyone wanna trade 12-17yo preferably… boys only.” TIPTON responded,

“We trade in group.” On August 4, 2021, TIPTON wrote in the group, “Its any and

all…I like straight boy and girl my ages are like 14-17…But thats just me.” TIPTON

then went on, saying, “Yeah I mean me and the owner of the group started it like 2

years ago.” On August 7, 8, and 9, 2021, TIPTON posted several videos on CSAM

within the group.

                          IDENTIFYING BRETT TIPTON

      53.    Detective Day reviewed the DoorDash receipt that the CV had provided

during his first interview with Detective Day. Detective Day observed that the receipt

bore the name “Brett T” and a transaction number. Detective Day sent a subpoena to

DoorDash, requesting the subscriber information of the DoorDash account that

generated the transaction on the receipt that the CV provided. Detective Day received

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from DoorDash a response that identified the DoorDash account as belonging to

TIPTON, with telephone number (407) 420-6969, and an email address

of officer.bretUipton@gmail.com. The delivery address listed on that particular

transaction was the CV’s residence.

      54.    Detective Day also located within the subpoena return another

DoorDash transaction that took place on August 13, 2021. The order was from Taco

Bell and was delivered to Unit 109 of a particular hotel in Deland, Florida. Detective

Day contacted the hotel and asked the front desk if a guest named TIPTON had stayed

at that hotel on August 13, 2021. The hotel advised that TIPTON had a room booked

on that day and was listed as a no-show in hotel records.

      55.    During the interviews, the CV indicated that he had communicated with

TIPTON via the Facebook account “Brett Sky.” Detective Day searched Facebook

for a profile under the name of “Brett Sky,” and found one. The Facebook page was

not private; it was open to the public. Detective Day looked through the profile and

all the images. Within the profile, Detective Day observed an image that contained a

block of letters that spelled out “TIPTON.”

      56.    Because Detective Day believed that TIPTON had another Facebook

account, she searched Facebook for TIPTON’s personal Facebook account, and found

it. The profile image on TIPTON’s personal Facebook account appeared to be the

same person as the person in the “Brett Sky” Facebook account.

      57.    On August 24, 2022, I located the two Facebook profiles identified as

Brett Sky (Facebook User ID: 534835126/N0T0RI0US69) and Brett Tipton

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(Facebook UID: 100047117808883/brett.tipton.3386). I looked at the Brett Sky

Facebook page and learned that the page was open to the public. TIPTON’s last post,

on August 17, 2022, was “Hit me up if you play pc games.” I reviewed the images on

the page and located an image that had TIPTON’s name on it.

      58.    I also located TIPTON’s second Facebook page under his legal name,

“Brett Tipton.” I discovered that the account was private and that I could not access

the images within the Facebook account. However, the Facebook profile picture of the

account contained an image of TIPTON. That same image was in the “Brett Sky”

images that I reviewed. After comparing the images to TIPTON’s driver license photo

and reviewing both Facebook accounts, I believe TIPTON is the user of both

Facebook accounts.

      59.    On August 25, 2022, the FBI sent an administrative subpoena to Meta,

requesting the subscriber information and IP address login information concerning

Facebook accounts “brett.tipton.3386” and “N0T0RI0US69” for the date range

beginning June 1, 2020, and ending August 23, 2022. On August 26, 2022, Meta

responded to the subpoena, identifying the subscriber of “brett.tipton.3386” as “Brett

Tipton,” and the subscriber of “N0T0RI0US69” as “Brett Sky.” The email address

used to register the “NOTORIOUS69” account was “brett.tipton@me.com.”

      60.    The “NOTORIOUS69” Facebook account had a confirmed user

telephone number of (407) 420-6969. Meta provided logs with the IP logins that the

user utilized to access Facebook. IP address 184.89.13.30 was within the logs of IP

addresses provided. According to the logs provided, IP address 184.89.13.30 last

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accessed this account on June 20, 2022. As stated earlier, IP address 184.89.13.30 also

accessed the “lizard69squad” Snapchat account multiple times between September 10,

2021, and August 18, 2022.

      61.    On August 24, 2022, the FBI sent an administrative subpoena to T-

Mobile, requesting subscriber information for telephone number 407-420-6969, in

reference to the date range of March 4, 2021, through April 11, 2021. On August 24,

2022, AT&T responded, identifying the subscriber as TIPTON with an address of

XXXX Ventana Boulevard, Rockledge, Florida 32955.

      62.    On August 24, 2022, the FBI sent an administrative subpoena to AT&T,

requesting the subscriber of telephone number 407-420-6969, for the date range of

September 30, 2021, through August 23, 2022.           On August 24, 2022, AT&T

responded, identifying the subscriber as TIPTON with an address of XXXX Ventana

Boulevard, Rockledge, Florida 32955.

      63.    Open-source checks on IP address 184.89.13.30 identified the ISP as

Charter Communications Incorporated (Spectrum). On August 30, 2022, the FBI sent

an administrative subpoena to Charter Communications Incorporated, requesting

subscriber information for the IP address during specific time frames when TIPTON

accessed the “lizard69squad” Snapchat account and the “N0T0RI0US69” Facebook

account through that IP address. On September 6, 2022, Charter Communications

Incorporated responded to the subpoena, identifying the subscriber of IP address

184.89.13.20 as L. Tipton with a residential address of XXXX Ventana Boulevard,




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Rockledge, Florida 32955. The account is still active and has been assigned to L.

Tipton since May 4, 2021.

      64.    On August 31, 2022, the FBI conducted records check on TIPTON

through the Florida Driver and Vehicle Identification Database (DAVID).          The

records check identified XXXX Ventana Boulevard, Rockledge, Florida 32955 as

TIPTON’s current residence. DAVID records indicated that TIPTON has resided at

that residence since August 7, 2019.

     EXECUTION OF SEARCH WARRANT AT TIPTON’S RESIDENCE

      65.    On September 22, 2022, the FBI served a search warrant at XXXX

Ventana Boulevard. After securing the residence, the FBI made contact with a resident

identified as TIPTON. TIPTON was interviewed while the search occurred. Prior to

the interview, TIPTON was advised he was not under arrest, he was free to leave and

that he did not have to answer any of our questions. SA Rodney Hyre advised

TIPTON of his “Miranda Rights.” TIPTON understood his rights and a recorded

interview ensued.

      66.    During the interview, TIPTON identified his Snapchat account as

“lizard69squad,” his Telegram account as “Sexy Lover,” and his PlayStation 4

account as “lizard69squad.” TIPTON utilized these accounts to interact and solicit

CSAM from young teenage boys and men that ranged in ages 12-26 years old.

TIPTON utilized these applications to chat with the CV.

      67.    TIPTON was asked where his cellular telephone was, and TIPTON told

me that it was in his vehicle that was parked outside. However, during the interview

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I was contacted by SA Brignoni and was informed that the search team had located a

cellular telephone hidden in a cabinet in the bathroom. I asked TIPTON if he hid the

cellular telephone when he was contacted by law enforcement and TIPTON

responded “yes.” I asked TIPTON if the cellular telephone was password protected

and TIPTON stated “yes.”

      68.    TIPTON refused to provide the password to the cellular telephone. I

asked TIPTON if the reason why he would not provide the FBI the password to the

cellular telephone was because there was CSAM on the phone. TIPTON responded,

“Yes.” TIPTON was asked if there were images and videos of potential victims he

victimized stored on the cellular telephone. TIPTON responded, “Yes.”

      69.    TIPTON provided the FBI verbal and written consent to search his

vehicle that was parked on the curb line just outside his residence. During the search

of the vehicle, the FBI located two cellular telephones inside the vehicle. TIPTON

provided verbal and written consent to the FBI to search these devices.

      70.    After the first interview was completed, I asked TIPTON if I could read

the search warrant affidavit to him. TIPTON agreed and a recorded interview

occurred. During the recorded interview, TIPTON was read the master affidavit I

wrote to obtain a search warrant to search his residence. (Paragraphs 7 through 64

herein are lifted verbatim from that master affidavit—except for any statements about

admissions or information I received today.)




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      71.    TIPTON acknowledged that the conversations notated between the CV

and TIPTON in the affidavit were accurate and depicted TIPTON’S relationship with

the CV.

      72.    TIPTON believed that he moved back to Florida approximately two to

three months after Christmas 2020. TIPTON stated that he still spoke to the CV when

he moved to his mother’s residence in Florida. During this timeframe, TIPTON asked

the CV to produce naked images and videos of himself. The CV complied and

produced naked videos and images of himself masturbating.

                                    CONCLUSION

      73.    I believe there is probable cause that TIPTON, using a facility and means

of interstate commerce, that is, the Internet, did knowingly persuade, induce, entice,

and coerce an individual who had not attained the age of 18 years to engage in sexual

activity for which any person could be charged with a criminal offense under federal

law, that is, Sexual Exploitation of a Child, a violation of 18 U.S.C. § 2251(a); all in

violation of 18 U.S.C. § 2422(b).

                                           ____________________________
                                           Kevin Kaufman, Special Agent
                                           Federal Bureau of Investigation

Affidavit submitted to me by reliable
electronic means consistent with Fed.
R. Crim. P. 4.1 and 4(d) before me
this ____ day of September, 2022.

_____________________________
EMBRY J. KIDD
United States Magistrate Judge



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